Case 2:18-mc-01001-WSH    Document 456-2   Filed 03/25/21   Page 1 of 3




                         EXHIBIT B
     Case 2:18-mc-01001-WSH            Document 456-2        Filed 03/25/21        Page 2 of 3

                                                          SARAH R. LAFRENIERE 888 16th Street, N.W.
                                                                       Associate   Suite 300
                                                                                   Washington, DC 20006

                                                                                   (202) 540-7159 Direct
                                                                                   202-540-7200 Main
                                                                                   202-540-7201 Fax

                                                                                   slafreniere@hausfeld.com

December 1, 2020
All DOMESTIC DEFENDANTS’ COUNSEL
VIA EMAIL

                RE:   Responses and Objections to Plaintiffs’ First Set of Requests for
                      Production - In re Diisocyanates Antitrust Litigation, MDL No. 2862


Dear Counsel:
      Plaintiffs write in response to your November 12, 2020 letter regarding BASF
Corporation, The Dow Chemical Company, Huntsman International LLC, Covestro LLC, and
Wanhua Chemical (America) Co., Ltd. (“Defendants”) search for and production of documents.

        First, we have reviewed the search terms provided to the Defendants in light of your letter
and will recirculate a revised list to each Defendant correcting the technical problems you
identified imminently. You will note that because of the limitations regarding proximity
searches, the number of search strings has expanded, but the substance has not. The extensive
use of proximity connectors reflects a sincere effort by Plaintiffs to craft search terms which
narrow and exclude irrelevant materials. Nevertheless, to the extent Defendants find the number
of strings alone problematic, Plaintiffs are agreeable to having Defendants run any search term
group independently, without proximity connectors, and eliminating any subsequent strings
connecting other terms to those search term groups. For example, if Defendants prefer to search
for the product names without terms or connectors, searches including those products can likely
be eliminated as duplicative.

       Second, regarding your request that Plaintiffs identify differences between the terms
provided to each of the Defendants, Plaintiffs will standardize the search terms for all
Defendants (except for searches of Defendants’ own names/locations).

       Third, regarding your request for a “global discussion of Plaintiffs’ proposed search
terms,” we are amenable to meeting and conferring as a group at your earliest convenience.
Please provide us with a proposed agenda of topics you would like to discuss during that meet
and confer, and let us know your earliest availability for the call.

        In addition, we understand that some Defendants are considering whether or not they
should use technology assisted review (“TAR”) to search for and produce documents. To the
extent any Defendant plans to use TAR we ask that they inform us by December 14, 2020. If
Defendants choose to use TAR it may eliminate the need to pre-cull documents using search
terms entirely, and negotiations to narrow any overbreadth concerns regarding search terms will
          Case 2:18-mc-01001-WSH             Document 456-2            Filed 03/25/21         Page 3 of 3




                                                                                              PAGE 2




be unnecessary. Instead, the parties will need to discuss disclosure of seed, training, or validation
sets, appropriate precision and recall rates, and other considerations specific to using TAR.
Plaintiffs request that Defendants inform Plaintiffs of the search methodology they intend to use
so that future discussion will be appropriately focused and expeditious, recognizing that
transparency is paramount in using TAR.1 Accordingly, Plaintiffs will also inform Defendants if
they intend to use TAR, along with any proposed revisions to Defendants’ proposed search terms
by December 14, 2020.

        Last, we request that once Defendants receive Plaintiffs’ revised search terms, they
provide Plaintiffs with a hit report for Plaintiffs’ proposed terms, and any proposed revisions and
additions to Plaintiffs’ terms within two weeks. Plaintiffs expect that each Defendant will
propose additional, unique terms, based on its own understanding of its business operations,
information systems, and collected documents in accordance with the parties’ independent
obligations under the Federal Rules and the ESI protocol to “identify and produce relevant and
responsive documents.” ECF No. 313 ¶ 5(a).



                                                     Very truly yours,



                                                     /s/ Sarah R. LaFreniere
                                                     Sarah R. LaFreniere
                                                     Associate


    cc:     Megan E. Jones
            Jason S. Hartley
            Jason Lindner
            William Pietragallo, II




1
 Courts routinely recognize the importance of transparency in the TAR process: Bridgestone Ams., Inc. v. Int’l Bus.
Machines Corp., Case No. 3:13- 1196, 2014 WL 4923014, at *1 (M.D. Tenn. July 22, 2014); Fed. Hous. Fin.
Agency v. JPMorgan Chase & Co., No. 1:11-cv-06188- DLC (S.D.N.Y. July 24, 2012) (transcript at 9, 14).
